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13
                                 UNITED STATES DISTRICT COURT
14
15                            NORTHERN DISTRICT OF CALIFORNIA

16   Consumer Financial Protection                 )   Case Number: 3:17-cv-06484-EDL
17   Bureau,                                       )
                                                   )   STIPULATION AND ORDER FOR
18           Plaintiff,                            )   FILING OF FIRST AMENDED
19                                                 )   COMPLAINT
             vs.                                   )
20
                                                   )
21   Freedom Debt Relief, LLC and                  )
22   Andrew Housser,                               )
                                                   )
23           Defendants.                           )
24                                                 )
                                                   )
25
26
27
28
                                                       Page 1 of 3
     Stipulation and Order for Filing of First Amended Complaint
     Case No. 17-cv-6484
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24
     ANDREW HOUSSER
25
26   IT IS HEREBY STIPULATED by and between Plaintiff Consumer Financial
27   Protection Bureau and Defendants Freedom Debt Relief, LLC and Andrew
28
                                                      Page 2 of 3
     Stipulation and Order for Filing of First Amended Complaint
     Case No. 17-cv-6484
1    Housser, through their respective attorneys of record, that Plaintiff may file a
2    First Amended Complaint, a copy of which is attached hereto.
3
4    IT IS FURTHER STIPULATED that the Defendants acknowledge service of the
5    First Amended Complaint as of the date of this Stipulation and waive any further
6    notice or service of the First Amended Complaint.

7
     SO STIPULATED.
8
9    DATED: June 1, 2018
                                             By:   /s/ Maxwell S. Peltz
10
                                                 MAXWELL S. PELTZ
11                                                Attorney for Plaintiff
12                                     CONSUMER FINANCIAL PROTECTION BUREAU

13
     DATED: June 1, 2018
14
                                             By:            /s/ Allen J. Ruby
15                                                         ALLEN J. RUBY
16                                                       Attorney for Defendant
                                                     FREEDOM DEBT RELIEF, LLC
17
     DATED: June 1, 2018
18
                                             By:           /s/ Cristina C. Arguedas
19                                                       CRISTINA C. ARGUEDAS
20                                                         Attorney for Defendant
                                                           ANDREW HOUSSER
21
     ORDER
22
23
     IT IS SO ORDERED.
24
     Dated:
25
                                                      HONORABLE ELIZABETH D. LAPORTE
26
                                                       UNITED STATES MAGISTRATE JUDGE
27
28
                                                      Page 3 of 3
     Stipulation and Order for Filing of First Amended Complaint
     Case No. 17-cv-6484
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15
                        UNITED STATES DISTRICT COURT
16
                       NORTHERN DISTRICT OF CALIFORNIA
17
18   Consumer Financial Protection
19   Bureau,
               Plaintiff,                           Case No. 3:17-cv-6484
20
               v.
21
                                                    FIRST AMENDED
     Freedom Debt Relief, LLC and
22                                                  COMPLAINT
     Andrew Housser,
23
24             Defendants.

25
26
27
28   First Amended Complaint                Attachment to Stipulation and Order
     Case No. 17-cv-6484-EDL
                                                                            1
1          The Consumer Financial Protection Bureau (“Bureau”) files this First
2    Amended Complaint against Freedom Debt Relief, LLC (“Freedom”) and
3    Andrew Housser (collectively, “Defendants”) and alleges as follows:
4                                        Introduction
5          1.     The Bureau brings this action under the Telemarketing and
6    Consumer Fraud and Abuse Prevention Act (“Telemarketing Act”), 15 U.S.C.
7    §§ 6102(c), 6105(d) (2012); the Telemarketing Sales Rule (“TSR”), 16 C.F.R. pt. 310
8    (1995) (revised 2010); and §§ 1031, 1036(a), 1054, and 1055 of the Consumer
9    Financial Protection Act of 2010 (“CFPA”), 12 U.S.C. §§ 5531, 5536(a), 5564, 5565
10   (2012), in connection with the marketing and sale of debt-settlement or debt-
11   relief services.
12                                        Jurisdiction
13         2.     This Court has subject-matter jurisdiction over this action because it
14   is brought under “Federal consumer financial law,” 12 U.S.C. § 5565(a)(1),
15   presents a federal question, 28 U.S.C. § 1331, and is brought by an agency of the
16   United States, 28 U.S.C. § 1345.
17                                           Venue
18         3.     Venue is proper in this district because Freedom and Housser are
19   located, reside, and do business here. 12 U.S.C. § 5564(f).
20                                 Intradistrict Assignment
21         4.     Under the Local Rules of Practice in Civil Proceedings before the
22   United States District Court for the Northern District of California, this action
23   arises in the county of San Mateo because a substantial part of the events or
24   omissions giving rise to the claims occurred there. See Civil L.R. 3-2(c). This
25   action should therefore be assigned to the San Francisco Division or the Oakland
26   Division of this Court. See Civil L.R. 3-2(d).
27
28   First Amended Complaint                    Attachment to Stipulation and Order
     Case No. 17-cv-6484-EDL
                                                                                       2
1                                           Parties
2          5.     The Bureau is an independent agency of the United States created by
3    the CFPA. 12 U.S.C. § 5491(a). It has independent litigating authority and may
4    secure appropriate relief for violations of the CFPA, 12 U.S.C. § 5564(a)-(b), and
5    the TSR, 15 U.S.C. §§ 6102(c), 6105(d).
6          6.     Freedom, a Delaware corporation, maintains its principal place of
7    business at 1875 S. Grant St., Suite 400, San Mateo, CA 94402. Freedom offers and
8    provides “financial advisory services,” including debt-settlement services, to
9    consumers owing unsecured debts to creditors. Those activities are “consumer
10   financial services or products” under the CFPA. 12 U.S.C. § 5481(5)(A),
11   (15)(A)(viii)(II). Freedom is therefore a “covered person” under the CFPA. 12
12   U.S.C. § 5481(6). Additionally, in connection with a campaign to use telephones
13   to make interstate phone calls to consumers and to use advertisements to solicit
14   calls from consumers to induce them to purchase its services, wherein Freedom
15   offers to renegotiate, settle, or in any way alter the terms of payment or other
16   terms of the debt between a person and one or more unsecured creditors or debt
17   collectors, Freedom initiates and receives telephone calls from consumers. Thus,
18   Freedom is a “telemarketer” offering a “debt relief service” under the TSR. 16
19   C.F.R. § 310.2(o), (ff).
20         7.     Andrew Housser is the co-founder and co-CEO of Freedom. At all
21   times material to this Complaint, Housser has exercised substantial control over
22   and involvement in the establishment of Freedom’s business policies and
23   practices described in the Complaint. At all times material to this Complaint,
24   Housser has exercised managerial responsibility for Freedom and has materially
25   participated in the conduct of its affairs. Housser is therefore a “related person.”
26   12 U.S.C. § 5481(25)(C)(i)-(ii). Because Housser is a “related person,” he is
27   deemed a “covered person” under the CFPA. 12 U.S.C. § 5481(25)(B).
28   First Amended Complaint                   Attachment to Stipulation and Order
     Case No. 17-cv-6484-EDL
                                                                                     3
1                                   Factual Background
2          8.     Freedom is a consumer-debt-settlement company. Established in
3    2002, Freedom claims that it has successfully negotiated and settled consumer
4    debts in excess of $7 billion for over 450,000 consumers who have enrolled in its
5    debt-settlement program.
6          9.     Freedom required consumers enrolled in its debt-settlement program
7    to deposit funds into dedicated accounts with an FDIC-insured bank. Freedom
8    claimed that once there were sufficient funds in those accounts to make
9    settlement offers to consumers’ creditors, Freedom would negotiate with the
10   creditors to persuade them to accept less than the amounts actually owed.
11         10.    Freedom instructed its customers who had been making payments to
12   their creditors to withhold any further payments and to change their billing
13   addresses with their creditors to Freedom’s Arizona address, 4940 South
14   Wendler Drive, Tempe, AZ 85828.
15         11.    Freedom would approve consumers for enrollment in its debt-
16   settlement program even if they were not delinquent on any debts at the time of
17   enrollment. Freedom did not independently verify hardship claims or require
18   consumers to provide supporting documentation for hardship claims as part of
19   its underwriting efforts.
20         12.    When a debt enrolled in its debt-settlement program was settled or a
21   creditor ceased attempts to collect the debt (in the absence of a settlement),
22   Freedom would charge consumers fees that typically ranged between 18% and
23   25% of the enrolled debt amount.
24               Freedom’s Enrollment of Consumers and Lack of Disclosure
25         13.    Freedom’s employees received phone calls from prospective
26   customers and initiated phone calls to prospective customers across the United
27   States to persuade them to enroll in its debt-settlement program.
28   First Amended Complaint                   Attachment to Stipulation and Order
     Case No. 17-cv-6484-EDL
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1         14.   Before consumers enrolled in Freedom’s program, Freedom pulled
2    credit reports of prospective customers. Freedom used the credit reports to
3    confirm in its telephone discussions with prospective customers the identities of
4    their creditors, the amounts owed to each creditor, the underlying nature of the
5    debt owed to each creditor, and the payment status for each debt.
6         15.   Freedom’s underwriting department prepared a “Schedule of
7    Creditors and Debt” listing each consumer’s creditors and the amounts owed to
8    those creditors. The Schedule of Creditors and Debt was submitted to
9    prospective customers for review and execution, and it became “Exhibit A” of
10   the Debt Resolution Agreement that consumers entered into with Freedom for
11   debt-settlement services.
12        16.   While Freedom’s Debt Resolution Agreement explained that
13   consumers could withdraw from the program and terminate the agreement, it
14   did not notify consumers that if they withdrew from the program, they would
15   receive all funds in their accounts, minus any fees that Freedom had already
16   earned.
17         Freedom’s Knowledge That Certain Creditors Would Not Negotiate
18        17.   Freedom has long known that certain creditors have policies against
19   negotiating with debt-settlement companies such as Freedom.
20        18.   For example, in late 2011, KPIX-TV (“CBS 5”), a local San Francisco
21   television station, aired a story about two Freedom customers who complained
22   about Freedom’s inability to settle debts they owed to Chase. Chase confirmed to
23   CBS 5 that it “does not work with debt-settlement companies.” So as early as
24   2011, Freedom had notice and knew or should have known that Chase would not
25   negotiate as a matter of corporate policy.
26        19.   Freedom has actively sought to reverse creditors’ policies against
27   negotiating with debt-settlement companies. For years, it has maintained a team
28   First Amended Complaint                  Attachment to Stipulation and Order
     Case No. 17-cv-6484-EDL
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1    dedicated to meeting with creditors that have frequently refused to negotiate
2    with Freedom to persuade them to change their policies. On occasion, Housser
3    accompanied this “creditor development team” on its meetings. And for years,
4    Housser has received regular updates (typically every two weeks) from the
5    “creditor development team” and has met frequently with the team to learn
6    about its efforts to persuade creditors to negotiate with Freedom.
7         20.    In 2015, Freedom requested an in-person meeting with American
8    Express. Freedom representatives met with American Express representatives in
9    the summer of 2015 in an effort to have American Express reverse its policy
10   against negotiating with debt-settlement companies. Freedom did not succeed,
11   and American Express’s policy remained unchanged.
12        21.    In 2016, Freedom requested an in-person meeting with Chase.
13   Freedom representatives met with Chase representatives in the summer of 2016
14   in an effort to have Chase reverse its policy against negotiating with debt-
15   settlement companies. Freedom did not succeed, and Chase’s policy remained
16   unchanged.
17        22.    Freedom has held multiple in-person meetings with Discover since
18   2015—including in October 2015, April 2016, and March 2017—in an effort to
19   have Discover reverse its policy against negotiating with debt-settlement
20   companies. Freedom’s efforts have been unsuccessful; Discover’s policy has
21   remained unchanged.
22              Freedom’s False Claims That All Creditors Would Negotiate
23        23.    Despite knowing that certain creditors would not negotiate with it,
24   Freedom told consumers that it could negotiate all of their debts.
25        24.    In company scripts, Freedom instructed employees in pre-enrollment
26   telephone calls to mention its “professional Negotiations Division of 200
27   negotiators” and to tell consumers that Freedom would “negotiate directly with
28   First Amended Complaint                  Attachment to Stipulation and Order
     Case No. 17-cv-6484-EDL
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1    [their] creditors to settle [their] debt for less than” what was owed. In marketing
2    materials, Freedom touted its “negotiating power.” Freedom did not tell
3    consumers that there might be certain creditors with which it would be unable to
4    “negotiate directly.”
5          25.   Since at least 2012, Section 2 of Freedom’s Debt Resolution
6    Agreement consistently represented to consumers that Freedom would be
7    “negotiating settlements.” Section 2 further represented that “each Creditor
8    listed on Exhibit A will work with us to negotiate a settlement of your Debts.”
9    Exhibit A of the Debt Resolution Agreement, the “Schedule of Creditors and
10   Debt,” listed all debts that a consumer enrolled in Freedom’s program and the
11   creditors associated with those debts.
12         26.   Freedom made this representation even when the creditors listed on
13   the Schedule of Creditors and Debt included Chase, American Express, Discover,
14   Macy’s, Synchrony Bank, or other creditors either known to Freedom to have
15   policies against working with debt-settlement companies or with track records of
16   repeatedly refusing to negotiate with Freedom.
17         27.   Since at least 2013, when creditors refused to negotiate with Freedom,
18   Freedom would tell some consumers to negotiate with their creditors directly
19   and would give these consumers instructions on how to negotiate a settlement
20   on their own. Typically, it was only after consumers had been enrolled in
21   Freedom’s program for months or years that Freedom revealed that one or more
22   of the consumers’ creditors refused to negotiate with Freedom and told
23   consumers that they would need to negotiate directly with those creditors. When
24   consumers acting on their own were able to negotiate a settlement with a
25   creditor, Freedom still charged consumers its fee, usually in the thousands of
26   dollars per enrolled debt—even when Freedom had not directly negotiated with
27   the creditor (or, in some cases, even communicated with the creditor).
28   First Amended Complaint                   Attachment to Stipulation and Order
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1                Freedom’s Instruction to Consumers to Deceive Creditors
2         28.     As part of the instructions given to consumers for negotiating
3    settlements on their own, Freedom told consumers to expressly mislead their
4    creditors when asked directly about their enrollment in a debt-settlement
5    program. Freedom’s instructions to consumers stated: “If they ask you if you are
6    enrolled into our program, let them know that as it pertains to this account, you
7    are looking to resolve it on your own.” Freedom directed consumers to make this
8    representation to a creditor when the consumers were in fact enrolled in
9    Freedom’s program to settle that creditor account.
10        29.     Freedom instructed consumers to represent to creditors that the
11   source of settlement funds was from family, friends, tax refunds, or the sale of a
12   vehicle. But this was not true; in fact, the funds came either from Freedom’s
13   affiliated loan program or from the funds consumers deposited in the dedicated
14   account set up upon their enrollment in Freedom’s debt-settlement program.
15        30.     Freedom did not disclose to consumers during the enrollment
16   process that Freedom might instruct them to mislead their creditors in the event
17   those creditors refused to negotiate with Freedom.
18              Freedom’s Deception of Consumers about Chargeable Events
19        31.     Since at least 2012, Section 1 of Freedom’s Debt Resolution
20   Agreement stated, “We will not charge any fee for our services until we
21   successfully resolve a debt for you and you have made a payment toward the
22   settlement of that debt.” This is consistent with Freedom’s pre-enrollment
23   telephone scripts, where Freedom instructed its employees to tell consumers that
24   “NO FEES ARE ACCEPTED UNTIL WE SETTLE A DEBT and then only for
25   the debt that was settled!”
26        32.     Contrary to this assertion, Freedom charged consumers its fee even
27   when Freedom had not successfully settled consumers’ debts.
28   First Amended Complaint                   Attachment to Stipulation and Order
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1          33.   For example, Freedom charged its fee when it had not directly
2    negotiated with the creditors—or even communicated with the creditors—
3    because the consumers had negotiated a binding settlement on their own.
4          34.   Similarly, Freedom charged its fee when a creditor, in the absence of
5    a binding settlement, stopped collecting from a consumer, sometimes following a
6    charge-off. In such circumstances, the consumer had not executed a settlement
7    agreement and had made no settlement payment to the creditor or any debt
8    collector before Freedom charged its fee. These consumers nevertheless could
9    still be subject to collection efforts, and their credit reports could continue to
10   reflect an unpaid or delinquent debt in the trade line for that creditor.
11         35.   Freedom did not disclose to consumers that it would charge
12   consumers its fee in such scenarios. And consumers did not agree to pay fees in
13   such scenarios when they enrolled in Freedom’s program.
14         36.   Freedom’s representations— regarding its ability to negotiate with
15   creditors, creditors’ willingness to negotiate with Freedom, and the
16   circumstances in which it would charge fees— were likely to mislead consumers
17   acting reasonably when enrolling in Freedom’s debt-settlement program and
18   when deciding whether to remain enrolled.
19         37.   During the period that consumers were enrolled in Freedom’s
20   program—typically months or years—Freedom required consumers to deposit
21   funds into dedicated accounts and instructed consumers that if they had been
22   making payments to their creditors, they should withhold any further payments
23   and instead make payments into the dedicated accounts. This included
24   consumers who had not previously been delinquent on their accounts. Such
25   extended delinquencies negatively impacted consumers’ credit, resulted in
26   consumers being charged late fees, penalties, and additional interest, and
27
28   First Amended Complaint                    Attachment to Stipulation and Order
     Case No. 17-cv-6484-EDL
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1    subjected consumers to ongoing collection activity and threatened and actual
2    legal action by creditors.
3          38.   Consumers who were charged fees after having to negotiate a
4    settlement on their own or after Freedom allowed a charge-off instead of
5    negotiating a settlement typically had been enrolled in Freedom’s program for
6    months or years, during which they were subject to the consequences of
7    extended delinquencies.
8                Housser’s Substantial Involvement in Freedom’s Practices
9          39.   Housser has had the authority and responsibility to approve
10   Freedom’s policies and practices.
11         40.   Housser has had the authority and responsibility to approve the
12   content of the Debt Resolution Agreements.
13         41.   Housser’s name and signature have appeared on all Debt Resolution
14   Agreements with consumers.
15         42.   Housser has known that the statement included in all Debt
16   Resolution Agreements that creditors would work with Freedom to negotiate
17   settlements was not always true with respect to certain creditors. Housser has
18   known that certain creditors had policies against negotiating with debt-
19   settlement companies. Housser has known that Freedom was often unable to
20   negotiate with creditors who had such policies.
21         43.   Housser has known that the statement included in all Debt
22   Resolution Agreements that consumers would only be charged if Freedom
23   negotiated a settlement and consumers made payments toward those settlements
24   was not true. Housser has known that Freedom would charge consumers in
25   other undisclosed scenarios.
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28   First Amended Complaint                 Attachment to Stipulation and Order
     Case No. 17-cv-6484-EDL
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1          44.   Housser has approved Freedom’s practice of coaching consumers
2    when creditors would not negotiate with Freedom and has approved charging
3    consumers if they later settled their debts with creditors.
4          45.   Housser has had knowledge of and control over Freedom’s fee-
5    charging practices, including its charging of fees in the absence of a binding
6    settlement or any consumer payment on a settlement.
7                                          Count I
8                             Defendants’ Violations of the CFPA
9     (Deceiving Consumers Regarding Creditors’ Willingness to Negotiate with Freedom)
10         46.   The Bureau re-alleges and incorporates by reference paragraphs 1-45.
11         47.   In connection with marketing its services, Freedom touted its
12   “negotiating power” and has represented to consumers that its negotiators
13   would “negotiate directly” with their creditors. In many instances, there was a
14   significant chance that Freedom would be unable to negotiate directly with
15   certain creditors having policies against negotiating with debt-settlement
16   companies. Freedom has known of these creditors’ policies and of the significant
17   chance that it would be unable to negotiate directly with those creditors, and
18   Freedom has not notified consumers of these facts.
19         48.   Freedom has represented to consumers in its customized Debt
20   Resolution Agreements that it believed all creditors, including creditors with
21   which Freedom was often unable to negotiate, would work with Freedom to
22   negotiate a settlement of debts.
23         49.   Freedom’s statements have created the false net impression that
24   Freedom itself would be able to negotiate directly with all creditors, including
25   those that had policies against negotiating with debt-settlement companies.
26         50.   Freedom’s statements were false or misleading, were material to
27   consumers’ decisions to enroll in Freedom’s debt-settlement program, and
28   First Amended Complaint                   Attachment to Stipulation and Order
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1    constituted deceptive acts and practices, in violation of §§ 1031(a) and
2    1036(a)(1)(B) of the CFPA. 12 U.S.C. §§ 5531(a), 5536(a)(1)(B).
3          51.   Housser has had significant responsibility for establishing Freedom’s
4    policies and practices, and he has had substantial control over Freedom’s
5    operations, including the content of its Debt Resolution Agreements.
6          52.   Housser directly contributed to the development, review, and
7    approval of materials containing the aforementioned deceptive statements.
8          53.   Housser’s name and signature appeared on materials containing the
9    aforementioned deceptive statements.
10         54.   Housser has committed or engaged in deceptive acts or practices in
11   connection with the offering of a consumer-financial product or service. 12 U.S.C.
12   §§ 5531(a), 5536(a)(1)(B).
13         55.   Housser knowingly or recklessly has provided substantial assistance
14   to Freedom, a covered person engaged in deceptive acts and practices, in
15   violation of the CFPA, 12 U.S.C. § 5536(a)(3).
16                                        Count II
17                            Defendants’ Violations of the CFPA
18                         (Deceiving Consumers Regarding Charges)
19         56.   The Bureau re-alleges and incorporates by reference paragraphs 1-45.
20         57.   Freedom has represented to consumers that it would not charge any
21   fee for its services until it settled a debt and consumers have made a settlement
22   payment to the creditor. In fact, Freedom has charged consumers its fee in cases
23   where it did not settle the consumer’s debt and the consumer did not make a
24   settlement payment.
25         58.   Freedom’s statements concerning the circumstances when consumers
26   would be charged fees were false or misleading, were material to consumers’
27   decisions to enroll in Freedom’s debt-settlement program, and constituted
28   First Amended Complaint                   Attachment to Stipulation and Order
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1    deceptive acts and practices, in violation of §§ 1031(a) and 1036(a)(1)(B) of the
2    CFPA. 12 U.S.C. §§ 5531(a), 5536(a)(1)(B).
3          59.   Housser has had significant responsibility for establishing Freedom’s
4    policies and practices, and he has had substantial control over Freedom’s
5    operations, including the content of its Debt Resolution Agreements.
6          60.   Housser directly contributed to the development, review, and
7    approval of materials containing the aforementioned deceptive statements.
8          61.   Housser’s name and signature appeared on materials containing the
9    aforementioned deceptive statements.
10         62.   Housser has committed or engaged in deceptive acts or practices in
11   connection with the offering of a consumer-financial product or service. 12 U.S.C.
12   §§ 5531(a), 5536(a)(1)(B).
13         63.   Housser has knowingly or recklessly provided substantial assistance
14   to Freedom, a covered person engaged in deceptive acts and practices, in
15   violation of the CFPA, 12 U.S.C. § 5536(a)(3).
16                                        Count III
17                            Defendants’ Violations of the CFPA
18                (Abusively Requiring Consumers to Negotiate on their Own)
19         64.   The Bureau re-alleges and incorporates by reference paragraphs 1-45.
20         65.   When Freedom has been unable to negotiate with creditors, Freedom
21   has told some consumers to negotiate with their creditors directly and has given
22   them instructions on how to negotiate settlements on their own.
23         66.   Freedom’s instructions to these consumers included directions to
24   mislead their creditors by concealing the fact of their enrollment in Freedom’s
25   debt-settlement program and misrepresenting the source of the funds available
26   for settlement.
27
28   First Amended Complaint                   Attachment to Stipulation and Order
     Case No. 17-cv-6484-EDL
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1          67.   Freedom did not disclose to consumers before they enrolled in its
2    program that they might be required to negotiate with creditors on their own,
3    including by deceiving their creditors, in order to settle their debts. Freedom also
4    did not disclose to consumers before they enrolled in its program that Freedom
5    charged consumers its fee, usually in the thousands of dollars per enrolled debt,
6    even when consumers themselves—not Freedom—negotiated the debt
7    settlements.
8          68.   Freedom repeatedly has represented to consumers that Freedom
9    would be able to negotiate with their creditors—including the specific creditors
10   referenced in consumers’ customized Debt Resolution Agreements—and did not
11   ensure that consumers understood that certain creditors might not negotiate with
12   Freedom. Accordingly, many of these consumers did not understand that a
13   material condition of Freedom’s debt-settlement program would be having to
14   negotiate with creditors themselves. Typically, Freedom only revealed to
15   consumers that one or more of their creditors would not negotiate with Freedom
16   and told consumers that they would need to negotiate directly with those
17   creditors after consumers had been enrolled in Freedom’s program for months or
18   years—having borne the costs and consequences of extended delinquencies and
19   forgone other debt-settlement alternatives.
20         69.   Freedom took unreasonable advantage of consumers’ lack of
21   understanding by, with full knowledge of its own misrepresentations and failure
22   to correct them, enrolling consumers in its debt-settlement program who
23   reasonably might have chosen not to enroll if they understood that they might
24   have to negotiate with creditors themselves and be instructed by Freedom to
25   mislead those creditors during negotiations.
26         70.   Freedom’s practice of enrolling consumers in its debt-settlement
27   program under these circumstances took unreasonable advantage of the
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1    consumers’ lack of understanding of the material risks, costs, or conditions of
2    enrolling in Freedom’s debt-settlement program, and it is abusive in violation of
3    §§ 1031(d)(2)(A) and 1036(a)(1)(B) of the CFPA. 12 U.S.C. §§ 5531(d)(2)(A),
4    5536(a)(1)(B).
5          71.   Housser has had significant responsibility for establishing Freedom’s
6    policies and practices, and he has had substantial control over Freedom’s
7    operations, including the content of its Debt Resolution Agreements and the
8    guidance offered to consumers regarding negotiating with their creditors.
9          72.   Housser directly contributed to the development, review, and
10   approval of Freedom’s Debt Resolution Agreements and the guidance they offer
11   to consumers.
12         73.   Housser’s name and signature appeared on the Debt Resolution
13   Agreements.
14         74.   Housser has committed or engaged in abusive acts or practices in
15   connection with the offering of a consumer-financial product or service. 12 U.S.C.
16   §§ 5531(a), 5536(a)(1)(B).
17         75.   Housser has knowingly or recklessly provided substantial assistance
18   to Freedom, a covered person engaged in abusive acts and practices, in violation
19   of the CFPA, 12 U.S.C. § 5536(a)(3).
20                                          Count IV
21                      Defendants’ Violations of the TSR and the CFPA
22        (Failure to Clearly and Conspicuously Disclose Consumers’ Rights to Funds)
23         76.   The Bureau re-alleges and incorporates by reference paragraphs 1-45.
24         77.   It is a violation of the TSR for any seller or telemarketer in connection
25   with the sale of any debt-relief service requiring customers to place funds in an
26   account at an insured financial institution to fail to disclose truthfully, in a clear
27   and conspicuous manner before customers consent to pay for those services, that
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1    customers own the funds held in the accounts, that customers may withdraw
2    from the debt-relief service at any time without penalty, and that, if customers
3    withdraw, they must receive all funds in the accounts other than funds earned by
4    the debt-relief service. 16 C.F.R. § 310.3(a)(1)(viii)(D).
5          78.   Freedom has requested or required its customers to place funds in an
6    account at an insured financial institution.
7          79.   Freedom did not clearly and conspicuously disclose that if a
8    customer withdrew, the customer must receive all funds in the account, other
9    than funds earned by Freedom.
10         80.   The Bureau is authorized to enforce the Telemarketing Act with
11   respect to the offering or provision of a consumer financial product or service
12   subject to the CFPA. 15 U.S.C. § 6105(d).
13         81.   Freedom’s failure to disclose in a clear and conspicuous manner that
14   consumers would receive all funds in the account was a deceptive act or practice
15   in telemarketing, in violation of the TSR. 16 C.F.R. § 310.3(a)(1)(viii)(D).
16         82.   In addition, Freedom’s violation of the TSR is treated as a violation of
17   a rule under § 1031 of the CFPA. 15 U.S.C. § 6102(c). Freedom therefore has also
18   violated the CFPA. 12 U.S.C. § 5536(a)(1)(A).
19         83.   Housser directly contributed to the development, review, and
20   approval of Freedom’s Debt Resolution Agreements, and Housser’s name and
21   signature appeared on the Debt Resolution Agreements.
22         84.   Housser knew or consciously avoided knowing that Freedom failed
23   to clearly and conspicuously disclose that consumers must receive all funds in
24   the account other than fees earned by Freedom upon withdrawal, in violation of
25   the TSR.
26         85.   Housser has violated the TSR’s ban on assisting and facilitating
27   others’ violations of that rule. 16 C.F.R. § 310.3(b).
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1          86.   Housser’s violation of the TSR is treated as a violation of a rule under
2    § 1031 of the CFPA. 15 U.S.C. § 6102(c). Housser has therefore violated
3    § 1036(a)(1)(A) of the CFPA. 12 U.S.C. § 5536(a)(1)(A).
4          87.   Housser has knowingly or recklessly provided substantial assistance
5    to Freedom’s violation of the TSR. Housser has therefore violated § 1036(a)(3) of
6    the CFPA. 12 U.S.C. § 5536(a)(3).
7                                           Count V
8                        Defendants’ Violations of the TSR and the CFPA
9                         (Charging Fees in the Absence of a Settlement)
10         88.   The Bureau re-alleges and incorporates by reference paragraphs 1-45.
11         89.   It is a violation of the TSR for any seller or telemarketer in connection
12   with the sale of any debt-relief service to request or receive payment of any fee or
13   consideration for any debt-relief service until and unless: (1) the seller or
14   telemarketer has renegotiated, settled, reduced, or otherwise altered the terms of
15   at least one debt pursuant to a settlement agreement, debt management plan, or
16   other such valid contractual agreement executed by the customer; (2) the
17   customer has made at least one payment pursuant to that settlement agreement,
18   debt-management plan, or other valid contractual agreement between the
19   customer and the creditor or debt collector; and (3) where the debts are
20   renegotiated, settled, reduced, or otherwise altered individually, the fee or
21   consideration must be proportional to the debts that have been so settled, or else
22   charged at a flat percentage of the amount saved as a result of such settlements.
23   16 C.F.R. § 310.4(a)(5)(i).
24         90.   Freedom has requested and received fees from consumers in
25   connection with enrolled debts even though Freedom had not renegotiated,
26   settled, reduced, or otherwise altered the terms of these debts pursuant to a
27   settlement agreement, debt-management plan, or other such valid contractual
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1    agreement executed by the consumers and even though the consumers had not
2    made any payments pursuant to a settlement agreement, debt-management plan,
3    or other valid contractual agreement between the consumers and the creditor or
4    debt collector.
5          91.   Where consumers’ debts were purportedly renegotiated, settled,
6    reduced, or otherwise altered individually, Freedom has also requested and
7    received fees from consumers in connection with enrolled debts that were not
8    proportional due to the absence of a binding settlement and that were also not
9    charged at a flat percentage of the amount saved as a result of such settlements.
10         92.   The Bureau is authorized to enforce the Telemarketing Act with
11   respect to the offering or provision of a consumer financial product or service
12   subject to the CFPA. 15 U.S.C. § 6105(d).
13         93.   Freedom’s requesting or receiving payment of fees from consumers
14   under the circumstances described in paragraph 90 was an abusive act or
15   practice in telemarketing, in violation of the TSR. 16 C.F.R. § 310.4(a)(5)(i).
16         94.   In addition, Freedom’s violation of the TSR is treated as a violation of
17   a rule under § 1031 of the CFPA. 15 U.S.C. § 6102(c). Freedom therefore has also
18   violated the CFPA. 12 U.S.C. § 5536(a)(1)(A).
19         95.   Housser has had significant responsibility for establishing Freedom’s
20   policies and practices, and he has had substantial control over Freedom’s
21   operations, including its fee-charging practices.
22         96.   Housser knew or consciously avoided knowing that Freedom
23   requested or received payment of fees from consumers under the circumstances
24   described in paragraph 90.
25         97.   Housser has violated the TSR’s ban on assisting and facilitating
26   others’ violations of that rule. 16 C.F.R. § 310.3(b).
27
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1         98.   Housser’s violation of the TSR is treated as a violation of a rule under
2    § 1031 of the CFPA. 15 U.S.C. § 6102(c). Housser has therefore violated
3    § 1036(a)(1)(A) of the CFPA. 12 U.S.C. § 5536(a)(1)(A).
4         99.   Housser has knowingly or recklessly provided substantial assistance
5    to Freedom’s violation of the TSR. Housser has therefore violated § 1036(a)(3) of
6    the CFPA. 12 U.S.C. § 5536(a)(3).
7                                   Demand for Relief
8    The Bureau requests that the Court:
9         a.    permanently enjoin Defendants from committing future violations of
10              the Telemarketing Act, 15 U.S.C. §§ 6102(c), 6105(d); the TSR, 16
11              C.F.R. pt. 310; and §§ 1031, 1036(a) of the CFPA, 12 U.S.C. §§ 5531,
12              5536(a), and any other provision of “Federal consumer financial law,”
13              as defined by 12 U.S.C. § 5481(14);
14        b.    grant additional injunctive relief as the Court may deem just and
15              proper;
16        c.    order Defendants to pay redress to consumers harmed by its
17              unlawful conduct;
18        d.    order Defendants to disgorge all ill-gotten gains;
19        e.    impose on Defendants civil money penalties;
20        f.    award costs against Defendants; and
21        g.    award additional relief as the Court may determine to be just and
22              proper.
23
24   Dated: May 31, 2018             Respectfully Submitted,
25                                   Kristen A. Donoghue (DC Bar No. 456707)
26                                   Enforcement Director
                                     Jeffrey Paul Ehrlich (FL Bar No. 51561)
27
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1                                CERTIFICATE OF SERVICE

2
           I hereby certify that a true and correct copy of the foregoing was served on June 1,
3
     2018, via ECF, upon counsel of record in this action.
4
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6
7                                          /s/ Maxwell S. Peltz
                                           Maxwell S. Peltz
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